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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA



IN RE: SAVANNAH D. READD

                                                MISCELLANEOUS NO: 3:21MC94
                                                (Chief Judge Groh)




                                            ORDER

       On October 18, 2021, Savannah D. Readd was empaneled to serve as a juror in

criminal jury trial. Immediately after the conclusion of the first day of trial, Ms. Readd

called the Martinsburg Clerk’s Office and left a voicemail indicating that she was not going

to return to complete her service as a juror. Ms. Readd indicated that the alternate could

serve in her place, and she requested that her mileage reimbursement be increased.

       The Court had not yet released Ms. Readd from service; neither Ms. Readd, nor

any juror, can release themselves from serving as a juror during a trial in the United States

District Court. Accordingly, it is the ORDER of this Court that in lieu of jailtime and/or a

fine for Ms. Readd’s failure to appear for service as directed by the Court, she shall forfeit

any payment for service and mileage.

       It is so ORDERED.

       The Clerk is directed to transmit a copy of this Order to Savannah D. Readd, by

certified mail, return receipt requested.

DATED: October 19, 2021.
